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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §            No.    1:23-cr-00174-RBW
                                                §
TUCKER WESTON                                   §


                           DEFENDANT’S OPPOSED MOTION
                      FOR RELEASE AND VOLUNTARY SURRENDER

TO THE HON. REGGIE B. WALTON, SENIOR UNITED STATES DISTRICT JUDGE:

        Defendant, TUCKER WESTON (“Weston”), requests, pursuant to 18 U.S.C. §§ 3142 and

3143 that the Court re-release him from Custody and allow him to voluntarily surrender to the U.S.

Bureau of Prisons and in support shows:

                                     I.       Procedural History

        1.       On October 19, 2022, Weston was arrested in Lynnwood, Washington pursuant to

an Arrest Warrant issued upon a Complaint in this District. Dkt. 1, 5.

        2.       He was released on bond under conditions set by U.S. Magistrate Jude G. Michel

Harvey on November 8, 2022. Dkt. 13.

        3.       On May 17, 2024, an eight count Indictment was returned against Weston. He was

arraigned on May 22, 2023, by videoconference and entered a plea of not guilty. Dkt. 40.

        4.       On July 31, 2023, Weston pled guilty to Counts 1 and 2 of the Indictment pursuant

to a written plea agreement. 43-45.       An Order allowing him to deposit funds was also entered

on that date. Dkt. 46. At a later time, Weston, through counsel, deposited $2,000 towards

restitution into the registry of the Court.

        5.       On May 23, 2024, Weston was sentenced by the Court as follows:
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Docket entry entered on May 24, 2024. No judgment has yet been entered.

                     II.     Request for Release and Voluntary Surrender

       6.       According to numerous “Status Reports” filed with this Court by Pretrial Services,

from shortly after his pretrial release until a few days before sentencing, Defendant complied with

his conditions of release. Dkt. 23, 34, 37, 42, 60.

       7.       Based upon both the Plea Agreement and the PSIR, Weston was aware the

Sentencing Guidelines advised a custodial sentence of 24-30 and also that the Government

requested a mid-guidelines sentences, and yet did not violate his conditions of release. Dkt.

51-54, 58. Indeed, at Sentencing, Weston, through counsel, requested a below guidelines

sentence of incarceration.

       8.       The foregoing demonstrates by clear and convincing evidence that Weston is not

likely to flee or pose a danger to the safety of any other person or the community if released

and allowed to Voluntary Surrender.

       9.       Although the Government opposes this motion, prior to sentencing, the

Government was not opposed to voluntary surrender and did not request Weston be detained.

                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant, TUCKER WESTON, prays that

this Court grant this motion and Order that he be released and allowed to voluntarily surrender to
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the unit designated by the Federal Bureau of Prisons

       .

                                            Respectfully submitted,

                                            /s/ Q. Tate Williams
                                            Quentin Tate Williams
                                            Texas Bar No. 24013760
                                            Philip H. Hilder
                                            Texas Bar No. 09620050
                                            819 Lovett Blvd.
                                            Houston, Texas 77006-3905
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                                            tate@hilderlaw.com
                                            philip@hilderlaw.com
                                            Admitted Pro Hac Vice


                            CERTIFICATE OF CONFERENCE

       I hereby certify that contacted the Assistant U.S. Attorney by telephone on or about June

4, 2024, regarding the substance of this motion and he indicated he is opposed

                                            /s/ Philip H.Hilder
                                            Philip H. Hilder



                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this pleading was served upon all persons

entitled to service via PACER contemporaneous with filing.

                                            /s/ Q. Tate Williams
                                            Q. Tate Williams




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                           UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA                    §
                                            §
VS.                                         §           No.    1:23-cr-00174-RBW
                                            §
TUCKER WESTON                               §


                                            ORDER

       On this day came to be heard Defendant’s Opposed Motion for Release and Voluntary

Surrender and after having considered same, the motion is GRANTED     / DENIED

       And, if Granted, the Defendant is ordered to be released upon the previously imposed

conditions of release including the bond.

               IT IS SO ORDERED.



                                            THE HON. REGGIE B. WALTON
                                            SENIOR UNITED STATES DISTRICT JUDGE




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